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AO 85 (Rev. 8/97) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

                        (For Use In Civil Cases With District Judge as Presider)
                                               UNITED STATES DISTRICT COURT

_______________________________ District of __________________________________________________
                                                                                   NOTICE, CONSENT, AND ORDER OF REFERENCE-
                             Plaintiff                                            EXERCISE OF JURISDICTION BY A UNITED STATES
                                                                                   MAGISTRATE JUDGE
                                v.
                                                                                 Case Number:

                             Defendant


                NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                 TO EXERCISE JURISDICTION
          In accordance with the provisions of 28 U.S.C. 636(c) and Fed.R.Civ.P.73, you are hereby notified that a United States magistrate
judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial, and to order the entry
of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all parties voluntarily consent.

         You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction from
being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding consent will
not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.

          An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for this
judicial circuit in the same manner as an appeal from any other judgment of a district court.

CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
        In accordance with the provisions of 28 U.S.C. 636(c) and Fed.R.Civ.P. 73, the parties in this case hereby voluntarily consent to
have a United States magistrate judge conduct any and all further proceedings in the case, including the trial, order the entry of a final
judgment, and conduct all post-judgment proceedings.

                   Signatures                                       Party Represented                                         Date

_____________________________________                     __________________________________                         ____________________

_____________________________________                     __________________________________                         ____________________

_____________________________________                     __________________________________                         ____________________

_____________________________________                     __________________________________                         ____________________


                                                     ORDER OF ASSIGNMENT
        IT IS HEREBY ORDERED that this case be assigned to ______________________________________________________
United States Magistrate Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S.C. 636(c), Fed.R.Civ.P.
73 and the foregoing consent of the parties. All further documents filed with the court are to carry the following case number
________________________________________.

________________             _____________________________________________________________________________________
  Date                                                    United States District Judge

NOTE: RETURN THIS FORM, IN PAPER, TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED
ON THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
                         PLEASE DO NOT FILE THIS FORM ELECTRONICALLY.
